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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             PANAMA CITY DIVISION

UNITED STATES OF AMERICA

        VS                                                                CASE NO. 5:97cr24LAC

CALVIN JOHNSON

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on MAY 2, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE           on 4/24/208    Doc.# 178

RESPONSES:
                                               on                       Doc.#
                                               on                       Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the    foregoing,       it   is     ORDERED      this   8 th   day   of
August, 2008, that:
(a) The relief requested is DENIED.
(b) The mandatory minimum sentence of 240 months is still mandated regardless of
any change or amendment to the guidelines.


                                                                 s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
